                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               GREENBELT DIVISION


 CASA, INC., et al.,

                 Plaintiffs,

         v.
                                                          Case No.: ____________________
 DONALD J. TRUMP, in his official
 capacity as President of the United States, et
 al.,

                 Defendants.




  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR A PRELIMINARY
                           INJUNCTION

       Plaintiffs seek a preliminary injunction against the enforcement and implementation of the

Executive Order entitled “Protecting the Meaning and Value of American Citizenship.” The

Executive Order purports to deny United States citizenship to many children who are born in the

United States to noncitizen parents. The Court may issue a preliminary injunction when a plaintiff

establishes that “he is likely to succeed on the merits, that he is likely to suffer irreparable harm in

the absence of preliminary relief, that the balance of equities tips in his favor, and that an injunction

is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The Court

finds that Plaintiffs have carried their burden to satisfy each of those factors and that immediate relief

is appropriate. The Court will therefore issue a preliminary injunction enjoining Defendants from

implementing or applying the Executive Order.

       First, the Court finds that Plaintiffs are likely to prevail on the merits of their arguments. The
Executive Order conflicts with the Citizenship Clause of the Fourteenth Amendment, which provides

that “[a]ll persons born or naturalized in the United States, and subject to the jurisdiction thereof, are

citizens of the United States and of the State wherein they reside.” U.S. Const. am. XIV. The

Executive Order also violates a similar statutory provision. 8 U.S.C. § 1401(a). The Supreme Court

has long recognized that the Fourteenth Amendment’s language means that a child born in the United

States is a United States citizen even if the child’s parents are not. United States v. Wong Kim Ark,

169 U.S. 649, 658 (1898). A President cannot unilaterally abrogate a constitutional provision or a

federal statute. Plaintiffs are thus likely to succeed on the merits of their claim that the Executive

Order violates both the Fourteenth Amendment and 8 U.S.C. § 1401(a).

       Second, as Plaintiffs’ declarations demonstrate, the Executive Order will inflict irreparable

harm on Individual Plaintiffs, Organizational Plaintiffs’ members, and their future children. The

Executive Order invades the constitutionally guaranteed right to citizenship, and violation of

constitutional rights is per se irreparable injury. Leaders of a Beautiful Struggle v. Baltimore Police

Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (en banc). Moreover, the Executive Order will deprive

newborn children of all of the benefits of United States citizenship, exposing them to the risk of

deportation and potentially leaving them stateless. Those harms will affect their entire families.

       The third and fourth preliminary injunction factors also favor granting relief. Where the

government is a party, analysis of those factors—the balance of the equities and the public interest—

merge. See Nken v. Holder, 556 U.S. 418, 435 (2009). “[U]pholding constitutional rights surely

serves the public interest.” Centro Tepeyac v. Montgomery County, 722 F.3d 184, 191 (4th Cir. 2013)

(en banc) (quoting Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)).
         Therefore, it is hereby ORDERED that Plaintiffs’ Motion for a Preliminary Injunction is

GRANTED.

         It is further ORDERED that Defendants and their officers, agents, servants, employees, and

attorneys, and any other persons who are in active concert or participation with them, are

ENJOINED from enforcing or applying the Executive Order or taking any other action that fails to

recognize the citizenship of individuals born within the United States.

         It is further ORDERED that the security requirement is hereby waived because Defendants

will not suffer any costs from the preliminary injunction and imposing a security requirement would

pose a hardship for Plaintiffs. See Fed. R. Civ. P. 65(c); Pashby v. Delia, 709 F.3d 307, 332 (4th Cir.

2013).

         SO ORDERED, this _________ day of __________, 2025, at _____.



                                                      ______________________

                                                      United States District Judge
